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                   Exhibit 1
                                                                                State Court of Fulton County
        Case 1:21-cv-04715-TWT Document 1-1 Filed 11/15/21 Page 2 of 21                           **E-FILED**
                                                                                                 21EV006162
                                                                                         10/11/2021 4:14 PM
                                                                                 Christopher G. Scott, Clerk
                                                                                                Civil Division
                       IN THE STATE COURT OF FULTON COUNTY
                                 STATE OF GEORGIA
                                     Civil Division


  MELISSA CARSON, individually and on behalf CLASS ACTION
  of all others similarly situated,
                                             DEMAND FOR JURY TRIAL
                   Plaintiff,
                                             CASE NO:
  v.
                                             JUDGE:
  THE HOME DEPOT, INC.,

                 Defendant.



                               CLASS ACTION COMPLAINT

       Plaintiff Melissa Carson brings this class action against Defendant The Home Depot, Inc.,

and alleges as follows upon personal knowledge as to Plaintiff and Plaintiff’s own acts and

experiences, and, as to all other matters, upon information and belief, including investigation

conducted by Plaintiff’s attorneys.

                                 NATURE OF THE ACTION

                                               1.

       This is a putative class action pursuant to the Telephone Consumer Protection Act, 47

U.S.C. §§ 227, et seq. (the “TCPA”).

                                               2.

       To market its products and services, Defendant engages in unsolicited text messaging and

violates TCPA by continuing to place calls to consumers after they request to opt out of

Defendant’s messaging.




                                               1
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                                                   3.

       Through this action, Plaintiff seeks injunctive relief to halt Defendant’s unlawful conduct,

which has resulted in the invasion of privacy, harassment, aggravation, and disruption of the daily

life of thousands of individuals. Plaintiff also seeks statutory damages on behalf of herself and

members of the Class, and any other available legal or equitable remedies.

                                PARTIES AND JURISDICTION

                                                   4.

       Plaintiff is a natural person who, at all times relevant to this action, was a citizen of and

domiciled in Grandbury, Texas.

                                                   5.

       Defendant is, and at all times relevant hereto was, a corporation duly organized and validly

existing under the laws of the State of Delaware, and maintains its headquarters and principal place of

business in Atlanta, Georgia.

                                                   6.

       This Court has general personal jurisdiction over Defendant as its headquarters and

principal place of business are in Atlanta, Georgia.



                                               FACTS

                                                   7.

       Defendant continues to bombard Plaintiff’s cellular telephone ending in 1034 (the “1034

Number”) with marketing text messages even after repeated requests by Plaintiff for the messages

to stop. The following screenshots depict the instances of Defendant ignoring Plaintiff’s opt-out

requests:



                                                  2
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                                    Thu, Jul 8, 1:01 PM




                                    Thu, Jul ,8, 2135 PM




                                    Thu, Jul 22, 1:01 PM




                                           232266       >


                apou “egg/pr wagy/

                                      Thu, Jul 8,   2   if:   PM




                                      Thu, Jul 22, 1.01 PM


                PROREFERRAL: Thanks for
                using Pro Referral! Do you have
                a moment to review your
                experience with our local pros?
                Review here: mummy
                BIL/ZQEI
                Msg & data rates may apply.
                Msg frequency varies. Reply
                STOP to unsubscribe or
                HELP for help. See Terms.
                _https_://W'v"v'w   imeMLm/
                      Jt/LegaI/oruxy/

                                     Fri, Jul 23, iOIDD AM


                PROREFERRAL: Help us
                improve Pro Referral! Your

                                              3
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                                    232266    >




                               Fri, Jul 23, iO'OO AM


               PROREFERRAL: Help us
               improve Pro Referral! Your
               feedback matters. Can you take
               a 5 minute survey about your
               experience with our service?
               hill;  .   _;      ‘Zbi‘l
               Msg & data rates may apply.
               Msg frequency varies. Reply
               STOP to unsubscribe or
                                             ms.




                               Sat, Jul 24, lOIOO AM


               PROREFERRAL: Help us
               improve Pro Referral! Your
               feedback matters. Can you take
                                about your




                                     232266   >




                Msg frequency varies. Reply
                STOP to unsubscribe or
                HELP for help. See Terms.
                mrﬁ/Mwwproreferral.com/


                                Sat,Ju| 24,1104 AM




                                   Today 5:49 PM


                PROREFERRAL: You have a new
                message about your project.
                JH Construction and

                                         4
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                                                 8.

       At the time Plaintiff received these messages, Plaintiff was the subscriber and sole user of

the 1034 Number.

                                                 9.

       Plaintiff primarily uses the 1034 Number as a personal and residential phone.

                                                 10.

       Defendant’s text messages constitute telemarketing, advertising, or solicitations because

they promote Defendant’s business, goods and services.

                                                 11.

       As demonstrated above, Plaintiff requested multiple times that Defendant stop contacting

the 1034 Number using the “stop” key word provided in the text messages.


                                                5
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                                                  12.

       Notwithstanding, Plaintiff continued to receive unsolicited text messages from Defendant.

                                                  13.

       The failure to stop calling is indicative of Defendant’s failure to implement awritten policy

for maintaining a do-not-call list and to train its personnel engaged in telemarketing on the

existence and use of the do-not-call-list.

                                                  14.

       Defendant’s unsolicited text message caused Plaintiff harm, including invasion of privacy,

aggravation, annoyance, and wasted time. Further, Defendant violated Plaintiff’s substantive rights

under the TCPA to remain free of unsolicited calls.

                                    CLASS ALLEGATIONS

       PROPOSED CLASS

                                                  15.

       Plaintiff brings this case as a class action pursuant to O.C.G.A. §§ 9-11-23(a) and 9-11-

23(b), on behalf of himself and all others similarly situated.

                                                  16.

       Plaintiff brings this case on behalf of the Class defined below:

       INTERNAL DO NOT CALL CLASS: All persons within the United States who,
       within the four years prior to the filing of this Complaint, (1) Defendant, or anyone
       on Defendant’s behalf, (2) placed a text message call, (3) for the purpose of
       encouraging the purchase or rental of, or investment in, Defendant’s property,
       goods, or services, (4) to said person’s telephone number, (5) after the person had
       requested to Defendant to not receive any more telephonic communications from
       Defendant by replying “stop” or any other similar request.




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                                                  17.

       Plaintiff reserves the right to modify the Class definitions as warranted as facts are learned

in further investigation and discovery.

                                                  18.

       Defendant and its employees or agents are excluded from the Class. Plaintiff does not know

the exact number of members in the Class but believes the Class members number in the several

thousands, if not more.

       NUMEROSITY

                                                  19.

       Upon information and belief, Defendant has placed calls to telephone numbers belonging

to thousands of consumers throughout the United States. The members of the Class, therefore, are

believed to be so numerous that joinder of all members is impracticable.

                                                  20.

       The exact number and identities of the members of the Class are unknown at this time and

can only be ascertained through discovery. Identification of the Class members is a matter capable

of ministerial determination from Defendant’s call records.

       COMMON QUESTIONS OF LAW AND FACT

                                                  21.

       There are numerous questions of law and fact common to members of the Class which

predominate over any questions affecting only individual members of the Class. Among the

questions of law and fact common to the members of the Class are:

               a) Whether Defendant can meet its burden of showing that it obtained prior
                   consent to make such calls;



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               b) Whether Defendant’s conduct was knowing and willful;

               c) Whether Defendant initiated telemarketing calls to telephone numbers who
                   requested to not receive such calls;

               d) Whether Defendant is liable for damages, and the amount of such damages; and

               e) Whether Defendant should be enjoined from such conduct in the future.
                                                   22.

       The common questions in this case are capable of having common answers. If Plaintiff’s

claim that Defendant routinely transmits calls to telephone numbers assigned to cellular telephone

services is accurate, Plaintiff and the Class members will have identical claims capable of being

efficiently adjudicated and administered in this case.

       TYPICALITY

                                                   23.

       Plaintiff’s claims are typical of the claims of the Class members, as they are all based on

the same factual and legal theories.

       PROTECTING THE INTERESTS OF THE CLASS MEMBERS

                                                   24.

       Plaintiff is a representative who will fully and adequately assert and protect the interests of

the Class, and has retained competent counsel. Accordingly, Plaintiff is an adequate representative

and will fairly and adequately protect the interests of the Class.

       PROCEEDING VIA CLASS ACTION IS SUPERIOR AND ADVISABLE

                                                   25.

       A class action is superior to all other available methods for the fair and efficient

adjudication of this lawsuit, because individual litigation of the claims of all members of the Class


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is economically unfeasible and procedurally impracticable. While the aggregate damages sustained

by the Class are in the millions of dollars, the individual damages incurred by each member of the

Class resulting from Defendant’s wrongful conduct are too small to warrant the expense of

individual lawsuits. The likelihood of individual Class members prosecuting their own separate

claims is remote, and, even if every member of the Class could afford individual litigation, the

court system would be unduly burdened by individual litigation of such cases.

                                                  26.

       The prosecution of separate actions by members of the Class would create a risk of

establishing inconsistent rulings and/or incompatible standards of conduct for Defendant. For

example, one court might enjoin Defendant from performing the challenged acts, whereas another

may not. Additionally, individual actions may be dispositive of the interests of the Class, although

certain class members are not parties to such actions.

                                           COUNT I
                     Violations of 47 U.S.C. § 227 and 47 C.F.R. § 64.1200
                     (On Behalf of Plaintiff and the Internal Do Not Call Class)

                                                  27.

       Plaintiff re-alleges and incorporates paragraphs 1-26 as if fully set forth herein.

                                                  28.

       In pertinent part, 47 C.F.R. § 64.1200(d) provides:

       No person or entity shall initiate any call for telemarketing purposes to a residential
       telephone subscriber unless such person or entity has instituted procedures for
       maintaining a list of persons who request not to receive telemarketing calls made
       by or on behalf of that person or entity. The procedures instituted must meet the
       following minimum standards:

       (1) Written policy. Persons or entities making calls for telemarketing purposes must
       have a written policy, available upon demand, for maintaining a do-not-call list.

       (2) Training of personnel engaged in telemarketing. Personnel engaged in any


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       aspect of telemarketing must be informed and trained in the existence and use of
       the do-not-call list.

                                                  29.

       Under 47 C.F.R § 64.1200(e), the rules set forth in 47 C.F.R. § 64.1200(d) are applicable

to any person or entity making telephone solicitations or telemarketing calls to wireless telephone

numbers.

                                                  30.

       Plaintiff and the Internal Do Not Call Class members made requests to Defendant not to

receive future calls on their cellular telephone numbers from Defendant.

                                                  31.

       Defendant failed to honor Plaintiff and the Internal Do Not Call Class members’ opt-out

requests.

                                                  32.

       Defendant’s refusal to honor opt-out requests is indicative of Defendant’s failure to

implement a written policy for maintaining a do-not-call list and to train its personnel engaged in

telemarketing on the existence and use of the do-not-call-list.

                                                  33.

       Thus, Defendant has violated 47 C.F.R. § 64.1200(d).

                                                  34.

       Pursuant to section 227(c)(5) of the TCPA, Plaintiff and the Internal Do Not Call Class

members are entitled to an award of $500.00 in statutory damages, for each and every negligent

violation.




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                                                    35.

          As a result of Defendant’s knowing or willful conduct, Plaintiff and the Internal Do Not

Call Class members are entitled to an award of $1,500.00 in statutory damages per violation.

                                                    36.

          Plaintiff and the Internal Do Not Call Class members are also entitled to and seek injunctive

relief prohibiting Defendant’s illegal conduct in the future, pursuant to section 227(c)(5).

                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the following

relief:

             a) An order declaring that Defendant’s actions, as set out above, violate the TCPA;

             b) An order certifying this case as a class action on behalf of the Classes as defined
                 above, and appointing Plaintiff as the representative of the Classes and Plaintiff’s

                 counsel as Class Counsel;

             c) An injunction mandating Defendant to honor opt our requests and maintain an
                 internal Do Not Call list.

             d) As a result of Defendant’s negligent violations of 47 U.S.C. §§ 227, et seq., and 47
                 C.F.R. § 64.1200, Plaintiff seeks for himself and each member of the Class $500.00

                 in statutory damages for each and every violation pursuant to 47 U.S.C. § 227(b)(3).

             e) As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §§ 227,
                 et seq., and 47 C.F.R. § 64.1200, Plaintiff seeks for himself and each member of

                 the Class treble damages, as provided by statute, up to $1,500.00 for each and every

                 violation pursuant to 47 U.S.C. § 227(b)(3).

             f) Such further and other relief as the Court deems necessary.

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                                       JURY DEMAND

       Plaintiff hereby demand a trial by jury.

                           DOCUMENT PRESERVATION DEMAND

       Plaintiff demands that Defendant take affirmative steps to preserve all records, lists,

electronic databases or other itemization of telephone numbers associated with Defendant and the

calls as alleged herein.

Dated: October 11, 2021

                                             Respectfully submitted,


                                     By:     /s/ Andrew Shamis
                                             Andrew Shamis, Esq.
                                             Georgia Bar No. 494196
                                             SHAMIS GENTILE, P.A.
                                             14 NE 1st Ave, Ste. 705
                                             Miami, FL 33132
                                             ashamis@shamisgentile.com
                                             Office: (305) 479-2299
                                             Fax: (786) 623-0915


                                             Manuel S. Hiraldo, Esq.
                                             Florida Bar No. 030380
                                             (pro hac vice to be submitted)
                                             401 E. Las Olas Boulevard
                                             Suite 1400
                                             Ft. Lauderdale, Florida 33301
                                             mhiraldo@hiraldolaw.com
                                             (t) 954.400.4713




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                                                                                               State Court of Fulton County
                      Case 1:21-cv-04715-TWT Document 1-1 Filed 11/15/21 Page 15 of 21                           **E-FILED**
                                                                                                                21EV006162
                                 General Civil and Domestic Relations Case Filing Instructions          10/11/2021 4:14 PM
                                                                                                Christopher G. Scott, Clerk
     1.   Provide the class of court and county in which the case is being filed.                              Civil Division
     2.   Provide the plaintiff’s and defendant’s names.
     3.   Provide the plaintiff’s attorney’s name and State Bar number. If you are representing yourself, provide your own name and check the self-
          represented box.
     4.   Provide the primary type of case by checking only one appropriate box. Cases can be either general civil or domestic relations and only one type
          of primary case within those categories. Check the case type that most accurately describes the primary case. If applicable, check one sub-type
          under the primary case type. If you are making more than one type of claim, check the case type that involves the largest amount of damages
          or the one you consider most important. See below for definitions of each case type.
     5.   Provide an answer to the four questions by checking the appropriate boxes and/or filling in the appropriate lines.

Case Type Definitions                                                                Restraining Petition: Any petition for a restraining order that does not
                                                                                     result from a domestic altercation or is not between parties in a domestic
                           General Civil Cases
                                                                                     relationship.
Automobile Tort: Any tort case involving personal injury, property
damage, or wrongful death resulting from alleged negligent operation                 Other General Civil: Any case that does not fit into one of the other
of a motor vehicle.                                                                  defined case categories in which a plaintiff is requesting the
                                                                                     enforcement or protection of a right or the redress or prevention of a
Civil Appeal: Any case disputing the finding of a limited jurisdiction trial         wrong.
court, department, or administrative agency.
                                                                                                             Domestic Relations Cases
Contempt/Modification/Other Post-Judgment: Any case alleging
failure to comply with a previously existing court order, seeking to                 Adoption: Cases involving a request for the establishment of a new and
change the terms of a previously existing court order, or any other post-            permanent parent-child relationship between persons not biologically
judgment activity in a general civil case.                                           parent and child.

Contract: Any case involving a dispute over an agreement between two                 Contempt: Any case alleging failure to comply with a previously existing
or more parties.                                                                     court order. If the contempt action deals with the non-payment of child
                                                                                     support, medical support, or alimony, also check the corresponding sub-
Garnishment: Any case where, after a monetary judgment, a third party                type box.
who has money or other property belonging to the defendant is
required to turn over such money or property to the court.                           Dissolution/Divorce/Separate Maintenance/Alimony: Any case
                                                                                     involving the dissolution of a marriage or the establishment of alimony
General Tort: Any tort case that is not defined or is not attributable to            or separate maintenance.
one of the other types of torts listed.
                                                                                     Family Violence Petition: Any case in which a protective order from a
Habeas Corpus: Any case designed to review the legality of the                       family member or domestic partner is requested.
detention or imprisonment of an individual, but not the question of his
or her guilt or innocence.                                                           Modification: Any case seeking to change the terms of a previously
                                                                                     existing court order. If the modification deals with custody, parenting
Injunction/Mandamus/Other Writ: Cases involving a written court                      time, or visitation, also check the corresponding sub-type box.
order directing a specific person to perform or refrain from performing
a specific act.                                                                      Paternity/Legitimation: Cases involving establishment of the identity
                                                                                     and/or responsibilities of the father of a minor child or a determination
Landlord/Tenant: Any case involving a landlord/tenant dispute if the                 of biological offspring.
landlord removed a tenant and his or her property from the premises or
placed a lien on the tenant’s property to repay a debt.                              Support – IV-D: Cases filed by the Georgia Department of Human
                                                                                     Services to request maintenance of a minor child by a person who is
Medical Malpractice Tort: Any tort case that alleges misconduct or                   required under Title IV-D of the Social Security Act of 1973 (42 USC §§
negligence by a person in the medical profession acting in a professional            651-669b) to provide such maintenance.
capacity, such as doctors, nurses, physician’s assistants, dentists, etc.
                                                                                     Support – Private (non-IV-D): Cases filed to request maintenance of a
Product Liability Tort: Any tort case that alleges an injury to a person             parent/guardian or a minor child by a person who is required by a law
was caused by the manufacturer or seller of an article due to a defect in,           other than Title IV-D of the Social Security Act of 1973 (42 USC §§ 651-
or the condition of, the article sold or an alleged breach of duty to                669b) to provide such maintenance.
provide suitable instructions to prevent injury.
                                                                                     Other Domestic Relations: Domestic relations cases that do not
Real Property: Any case involving disputes over the ownership, use,                  adequately fit into any of the other case types, including name changes.
boundaries, or value of land.




Please note: This form is for statistical purposes only. It shall have no legal effect in a case. The information collected on this form is used solely for court
administration purposes. This form does not supplement or replace the filing and service of pleadings or other papers as required by law or court rules.
Information on this form will not be entered into evidence.



                                                                                                                                                    Version 1.1.20
                    Case 1:21-cv-04715-TWT Document 1-1 Filed 11/15/21 PageState
                                                                            16 of 21 of Fulton County
                                                                                 Court
                                                                                                                       **E-FILED**
                             General Civil and Domestic Relations Case Filing Information Form
                                                                                          21EV006162
                                                                                                    10/11/2021 4:14 PM
                                  ☐ Superior or ☐ State Court of ______________________________ County
                                                                 Fulton                             Christopher G. Scott, Clerk
                                                                                                    Civil Division
        For Clerk Use Only

        Date Filed _________________________
                   10/11/2021                                               Case Number _________________________
                        MM-DD-YYYY

Plaintiff(s)                                                                   Defendant(s)
__________________________________________________
Carson        Melissa                                                          __________________________________________________
                                                                                The Home Depot
Last              First                  Middle I.     Suffix     Prefix         Last                  First       Middle I.   Suffix   Prefix
__________________________________________________                             __________________________________________________
Last              First                  Middle I.     Suffix     Prefix         Last                  First       Middle I.   Suffix   Prefix
__________________________________________________                             __________________________________________________
Last              First                  Middle I.     Suffix     Prefix         Last                  First       Middle I.   Suffix   Prefix
__________________________________________________                             __________________________________________________
Last              First                  Middle I.     Suffix     Prefix         Last                  First       Middle I.   Suffix   Prefix

Plaintiff’s Attorney ________________________________________
                     Andrew Shamis                            State Bar Number __________________ Self-Represented ☐

                          Check one case type and one sub-type in the same box (if a sub-type applies):

        General Civil Cases
                                                                                        Domestic Relations Cases
        ☐           Automobile Tort
        ☐           Civil Appeal                                                        ☐            Adoption
        ☐           Contempt/Modification/Other                                         ☐            Contempt
                    Post-Judgment                                                                    ☐ Non-payment of child support,
        ☐           Contract                                                                         medical support, or alimony
        ☐           Garnishment                                                         ☐            Dissolution/Divorce/Separate
        ☐
        ✔
                    General Tort                                                                     Maintenance/Alimony
        ☐           Habeas Corpus                                                       ☐            Family Violence Petition
        ☐           Injunction/Mandamus/Other Writ                                      ☐            Modification
        ☐           Landlord/Tenant                                                                  ☐ Custody/Parenting Time/Visitation
        ☐           Medical Malpractice Tort                                            ☐            Paternity/Legitimation
        ☐           Product Liability Tort                                              ☐            Support – IV-D
        ☐           Real Property                                                       ☐            Support – Private (non-IV-D)
        ☐           Restraining Petition                                                ☐            Other Domestic Relations
        ☐           Other General Civil

☐       Check if the action is related to another action pending or previously pending in this court involving some or all of
        the same: parties, subject matter, or factual issues. If so, provide a case number for each.
        ____________________________________________            ____________________________________________
                     Case Number                                              Case Number

☐       I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
        redaction of personal or confidential information in OCGA § 9-11-7.1.

☐       Is a foreign language or sign-language interpreter needed in this case? If so, provide the language(s) required.

        ________________________________ Language(s) Required

☐       Do you or your client need any disability accommodations? If so, please describe the accommodation request.


                                                                                                                                          Version 1.1.20
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                                                                                                                     State Court of Fulton County
                       Case 1:21-cv-04715-TWT Document 1-1 Filed 11/15/21 Page 18 of 21                                                **E-FILED**
                                                                                                                                      21EV006162
GEORGIA, FULTON COUNTY                                                                        DO NOT WRITE IN THIS SPACE      10/11/2021 4:14 PM
                                                                                                                       Christopher G. Scott, Clerk
                                                                                                                                     Civil Division
STATE COURT OF FULTON COUNTY                                               CIVIL ACTION FILE #: ___________________________
                    Civil Division



                                                                             TYPE OF SUIT                              AMOUNT OF SUIT
_____________________________________
MELISSA CARSON
                                                                              [ ] ACCOUNT                              TBD
                                                                                                            PRINCIPAL $_____________
_____________________________________                                         [ ] CONTRACT
                                                                              [ ] NOTE                                 TBD
                                                                                                            INTEREST $______________
_____________________________________                                         [X ] TORT
Plaintiff’s Name, Address, City, State, Zip Code                              [ ] PERSONAL INJURY                       TBD
                                                                                                           ATTY. FEES $_____________
                                                                              [ ] FOREIGN JUDGMENT
                                                                              [ ] TROVER                                  245
                                                                                                           COURT COST $ ___________
                            vs.
                                                                              [ ] SPECIAL LIEN
                                                                                                   ************
_____________________________________
THE HOME DEPOT, INC. c/o Registered Agent: CSC of Cobb County, Inc.
                                                                              [ x ] NEW FILING
_____________________________________
192 Anderson Street S.E., Suite 125                                           [ ] RE-FILING: PREVIOUS CASE NO. ___________________

_____________________________________
Marietta Georgia            30060
Defendant’s Name, Address, City, State, Zip Code

               SUMMONS
TO THE ABOVE NAMED-DEFENDANT:
 You are hereby required to file with the Clerk of said court and to serve a copy on the Plaintiff’s Attorney, or on Plaintiff if no Attorney, to-wit:
Name: ______________________________________________
       Andrew Shamis

Address: ____________________________________________
         14 NE 1st Avenue, Ste. 705
City, State, Zip Code: __________________________________________________
                       Miami, FL 33132                                                                 305-479-2299
                                                                                             Phone No.:___________________________
An answer to this complaint, which is herewith served upon you, must be filed within thirty (30) days after service, not counting the day of service. If you
fail to do so, judgment by default will be taken against you for the relief demanded in the complaint, plus cost of this action. DEFENSES MAY BE MADE &
JURY TRIAL DEMANDED, via electronic filing or, if desired, at the e-filing public access terminal in the Self-Help Center at 185 Central Ave., S.W.,
Ground Floor, Room TG300, Atlanta, GA 30303.

                                                                                            Christopher G. Scott, Chief Clerk (electronic signature)



______________________________________________________________________________________________________________________


SERVICE INFORMATION:
Served, this _______ day of ____________________, 20______.                   _______________________________________________
                                                                               DEPUTY MARSHAL, STATE COURT OF FULTON COUNTY

WRITE VERDICT HERE:
We, the jury, find for ______________________________________________________________________________________________
_______________________________________________________________________________________________________________
This _________ day of _______________________, 20_____.                   ______________________________________ Foreperson


                                                                (STAPLE TO FRONT OF COMPLAINT)
Case 1:21-cv-04715-TWT Document 1-1 Filed 11/15/21 Page 19 of 21
                                                                                                             State Court of Fulton County
            Case 1:21-cv-04715-TWT Document 1-1 Filed 11/15/21 Page 20 of 21                                                   **E-FILED**
                                                                                                                              21EV006162
                                                                                                                      10/25/2021 4:51 PM
                                                                                                              Christopher G. Scott, Clerk
                                               AFFIDAVIT OF SERVICE                                                          Civil Division


   State of Georgia
                                                         County of Fulton                                           State Court
   Case Number:    21 EV006162

   Plaintiff:
  MELISSA CARSON
  VS.

  Defendant:
  THE HOME DEPOT INC

  Received by Global Process Services
                                 Corp on the 15th
  THE HOME DEPOT lNC CIO CSC OF COBB COUNTY day of October. 2021 at 2:14 pm to be served on
                                                  INC, REG. AGENT, 192 ANDERSON STREET SE
  SUITE 125, MARIETTA, GA 30060.

  l, Earl Gayle CPS#122, being
                               duly sworn. depose and say that on the 15th
  pm, l:                                                                   day of October, 2021 at 3:38

 served a REGISTERED AGENT
                                  by delivering a true copy of the SUMMONS, COMPLAINT to: Anna
 Norris, Process Specialist C/O CSC OF COBB COUNTY
 192 ANDERSON STREET SE SUITE                                 INC, as Registered Agent at the address of:
                                       125, MARIETTA, GA 30060 on behalf of THE HOME DEPOT
                                                                                                                              r




 and informed said person of the contents                                                           INC,
                                           therein. in compliance with state statutes.

 Description of Person Served: Age: 45+, Sex: F, Race/Skin Color:
                                                                  white, Height: 5:5, Weight: 130, Hair:
 blonde, Glasses: N

 l certify that l am over the
                              age of 18, have no interest in the above action, and am a Certified Proce
 Server, in good standing, in the judicial circuit in which the                                         ss
                                                                process was served.




 Subscribed and Sworn to before me on the 18th                                                 CP
 of October, 2021 by the affiant who is            ay                      Process Server
                                        personally
       wn to me.                   ‘
                                                                           Global Process Services Corp
*‘Kn

       TAR PU LlC                            mold                          P.O Box 961556
                                                                           Miami, FL 33296
                                                                           (786) 287-0606

                                                                          Our Job Serial Number: ESL-2021001286
                        Ftoretta F "Ezgerald                              Ref: GPS #21-2234
                       NOTAR puBLlC
                                   GEORGIA
                    cm on COUHW
                       Commissmn Expires
                          03/21 [2024




                             Copyright © 1992-2021 Database Services. Inc. - Process Servers Toolbox
                                                                                                     Va,2d
                                                                                                                     State Court of Fulton County
                       Case 1:21-cv-04715-TWT Document 1-1 Filed 11/15/21 Page 21 of 21                                                **E-FILED**
                                                                                                                                      21EV006162
GEORGIA, FULTON COUNTY                                                                        DO NOT WRITE IN THIS SPACE      10/11/2021 4:14 PM
                                                                                                                       Christopher G. Scott, Clerk
                                                                                                                                     Civil Division
STATE COURT OF FULTON COUNTY                                               CIVIL ACTION FILE #: ___________________________
                    Civil Division



                                                                             TYPE OF SUIT                              AMOUNT OF SUIT
_____________________________________
MELISSA CARSON
                                                                              [ ] ACCOUNT                              TBD
                                                                                                            PRINCIPAL $_____________
_____________________________________                                         [ ] CONTRACT
                                                                              [ ] NOTE                                 TBD
                                                                                                            INTEREST $______________
_____________________________________                                         [X ] TORT
Plaintiff’s Name, Address, City, State, Zip Code                              [ ] PERSONAL INJURY                       TBD
                                                                                                           ATTY. FEES $_____________
                                                                              [ ] FOREIGN JUDGMENT
                                                                              [ ] TROVER                                  245
                                                                                                           COURT COST $ ___________
                            vs.
                                                                              [ ] SPECIAL LIEN
                                                                                                   ************
_____________________________________
THE HOME DEPOT, INC. c/o Registered Agent: CSC of Cobb County, Inc.
                                                                              [ x ] NEW FILING
_____________________________________
192 Anderson Street S.E., Suite 125                                           [ ] RE-FILING: PREVIOUS CASE NO. ___________________

_____________________________________
Marietta Georgia            30060
Defendant’s Name, Address, City, State, Zip Code

               SUMMONS
TO THE ABOVE NAMED-DEFENDANT:
 You are hereby required to file with the Clerk of said court and to serve a copy on the Plaintiff’s Attorney, or on Plaintiff if no Attorney, to-wit:
Name: ______________________________________________
       Andrew Shamis

Address: ____________________________________________
         14 NE 1st Avenue, Ste. 705
City, State, Zip Code: __________________________________________________
                       Miami, FL 33132                                                                 305-479-2299
                                                                                             Phone No.:___________________________
An answer to this complaint, which is herewith served upon you, must be filed within thirty (30) days after service, not counting the day of service. If you
fail to do so, judgment by default will be taken against you for the relief demanded in the complaint, plus cost of this action. DEFENSES MAY BE MADE &
JURY TRIAL DEMANDED, via electronic filing or, if desired, at the e-filing public access terminal in the Self-Help Center at 185 Central Ave., S.W.,
Ground Floor, Room TG300, Atlanta, GA 30303.

                                                                                            Christopher G. Scott, Chief Clerk (electronic signature)



______________________________________________________________________________________________________________________


SERVICE INFORMATION:
Served, this _______ day of ____________________, 20______.                   _______________________________________________
                                                                               DEPUTY MARSHAL, STATE COURT OF FULTON COUNTY

WRITE VERDICT HERE:
We, the jury, find for ______________________________________________________________________________________________
_______________________________________________________________________________________________________________
This _________ day of _______________________, 20_____.                   ______________________________________ Foreperson


                                                                (STAPLE TO FRONT OF COMPLAINT)
